Case 3:08-cv-05591-RJB Document 13-13 Filed 02/18/09 Page 1 of 5




                           Exhibit A-12
                           Page 231
Case 3:08-cv-05591-RJB Document 13-13 Filed 02/18/09 Page 2 of 5




                           Exhibit A-12
                           Page 232
Case 3:08-cv-05591-RJB Document 13-13 Filed 02/18/09 Page 3 of 5




                           Exhibit A-12
                           Page 233
Case 3:08-cv-05591-RJB Document 13-13 Filed 02/18/09 Page 4 of 5




                           Exhibit A-12
                           Page 234
Case 3:08-cv-05591-RJB Document 13-13 Filed 02/18/09 Page 5 of 5




                           Exhibit A-12
                           Page 235
